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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                     Miami Division

 MARTA REYES; LAWRENCE WOOD; et al.,
 on behalf of themselves                                 CASE NO. 1:20-cv-21108-UU
 and all those similarly situated,                       HON. URSULA UNGARO

               Plaintiffs,                               CLASS ACTION

 v.

 PEOPLE’S REPUBLIC OF CHINA;
 COMMUNIST PARTY OF CHINA; et al.,

 Defendants.
 _____________________________________/

                          PLAINTIFFS’ RESPONSE TO
                   NON-PARTY DAVID ANDREW CHRISTENSON’S
                 MOTION FOR AN “INDEFINITE” EXTENSION OF TIME

        Plaintiffs hereby respond in opposition to Non-Party David Andrew Christenson’s

 “Motion for an Indefinite Extension and Reconsideration,” [DE 53], that Mr. Christenson

 filed in response to the Court’s Order striking his previous filings, and to Show Cause

 why Mr. Christenson should be allowed to keep filing documents on the docket (the

 “Show Cause Order”). [DE 52].

                               ARGUMENT IN OPPOSITION

        The Clerk entered a response deadline of July 6, 2020 for Mr. Christenson’s

 motion for extension of time, and although the Show Cause Order was not directed at

 Plaintiffs, Plaintiffs enter this response in an abundance of caution since Plaintiffs filed

 the original Motion to Strike. [DE 40].
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        Plaintiffs continue to oppose any filing of Mr. Christenson, as they are patently

 irrelevant, and he is not a party here.1 Plaintiffs also oppose any extension of time for

 him to properly respond to the Court and Show Cause Order. This Court ordered Mr.

 Christenson to respond to the Show Cause Order by June 19, 2020, and instead he

 filed his motion for an indefinite extension of time and for reconsideration on that day.

        Like his previous filings, he provided no basis in law (or credible fact) why he

 should be allowed to continue to clog this docket. Indeed, he tells the Court “You are

 being manipulated;” “The attachments are about my being President and my resume;”

 and “I will cease to send pleadings without asking for permission.” [DE 53 (emphasis

 supplied)].      It   continues   with    another    44    pages    of   irrelevant,   rambling

 pleadings/documents from his attempts to clog other federal dockets.                    Despite

 promising to ask permission before filing anything else, he subsequently sent in five

 more documents, the most recent being June 26th. [DE’s 54–56; 58].

        In short, Mr. Christenson has made no credible attempt to appropriately respond

 to the Show Cause Order and, as far as undersigned is aware, our courts do not

 contemplate “indefinite extensions” of time to respond to an order. Furthermore, he has

 demonstrated no respect for the Court’s Orders or the proceedings, which appears,

 from the other case dockets cited by Plaintiffs in their motion to strike, his modus

 operandi.

        Plaintiffs posit that Mr. Christenson’s filings since the Show Cause Order

 demonstrate that he has abused the courtesy and leeway extended to him by the Court

 and Plaintiffs therefore oppose any extension of time for him to justify his conduct.

 1 Of course, if a class is certified and Mr. Christenson qualified and wished to be a member of a
 class related to this lawsuit, he would be welcome to do so.
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 Furthermore, Plaintiffs believe that he should be barred from additional filings, because,

 as the Supreme Court said long ago, every court has the inherent power “to control the

 disposition of the causes on its docket with economy of time and effort for itself, for

 counsel, and for litigants. Landis v. N. Am. Co., 299 U.S. 248, 254 (1936).

                                      CONCLUSION

    Plaintiffs respectfully request that this Court deny Mr. Christenson’s motion for an

 indefinite extension of time or reconsideration, and forbid Mr. Christenson from further

 filings since he has failed to properly respond to the Show Cause Order.

    Respectfully Submitted: July 1, 2020.

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                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing has been filed this

 July 1, 2020, with the Court’s CM/ECF filing system, which shall cause an email notice

 to be sent to all parties of record in this matter. I further certify that a true and correct

 copy of the foregoing is being sent by first class mail to:

        David Andrew Christenson
        Box 9063
        Miramar Beach, FL 32550


                                     By: /s Matthew T. Moore
                                     Matthew T. Moore, Esq.
                                     Fla. Bar No. 70034




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